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AO 440 (Rev. 12/09) Summons in a Civil Action


                                  UNITED STATES DISTRICT COURT
                                                     for the
                                            Northern District of Texas


              Sterling Jonkheer                         )
                      Plaintiff                         )
                        v.                              )     Civil Action No. 4: 19-cv-00916-0
                                                        )
                                                        )
               Ronny Desselles                          )
                     Defendant
                                                        )

                                       Summons in a Civil Action

 TO: Ronny Desselles


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff s attorney, whose name and address are:

     J Sudderth
     669 Airport Frwy
     Suite 100
     Hurst, TX 76053

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                                CLERK OF COURT



DATE: 10/30/2019
                                                                  Signature a/Clerk or Deputy Clerk
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  Civil Action No. 4:19-cv-00916-0


                                                                 PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))


         This summons for (name of individual and title, if any)                                                                                _
 was received by me on (date)                                    _


           r I personally served the summons on the individual at (place)                                                                      _
           _________________________                                                      on (dare)                                          _ or


           I    I left the summons at the individual's residence or usual place of abode with (name)                                                _
          ______________________                                               ~   a person of suitable age and discretion who resides there,
           on (date)                                                          _' and mailed a copy to the individual's last known address; or


           r    I served the summons on (name of individual)                                                                .::»   who is designated
           by law to accept service of process on behalf of (name of organization)                                                                  _
          _______________________                                                        on (date)                                                  ; or


           I    I returned the summons unexecuted because                                                                                            or


           I    other (specify)                                                                                                                 _




         My fees are $                       _           for travel and $                        for services, for a total of $
                                                                            --------                                                 ------

           I declare under penalty of perjury that this information is true.



 Date:                                _
                                                                                                       Server's signature



                                                                                                     Printed name and title



                                                                                                       Server's address



 Additional information regarding attempted service, etc:
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                                    PROOF OF SERVICE

       Received this summons on the 30th day of October, 2019, at 5:02 p.m. and executed at
13634 Alliance Court, Haslet, within the County of Tarrant, State of Texas at 3:51 p.m. on the
2nd day of November, 2019, by delivering to the within named Ronny Desselles, in person, a true
copy of the attached Citation together with the accompanying true and correct copy of Plaintiff s
Original Complaint and Request for Jury Trial, having first endorsed on same date of delivery.

Fees: $60.00


                                                    Christie David - Process Server
                                                    Person who is not a Party and is not less than
                                                    18 years of age. Per Rule 4( c)(2) F .R.C.P.

STATE OF TEXAS                §
COUNTY OF TARRANT             §

Signed and sworn to by the said Christie David before me this 4th day of November, 2019, to
certify which witness my hand and seal of office.




                                                    County of Tarrant, State of Texas
